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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

GILLESPIE & POWERS, INC.,  )
                           )
    Plaintiff,             )
v.                         ) C.A. No. 1:23-cv-000273-GBW
                           )
ALCOA WARRICK LLC, WARRICK )
REAL ESTATE LLC and KAISER )
ALUMINUM WARRICK, LLC,     )
                           )
    Defendants.            )

   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this

Court, am admitted, practicing and in good standing as a member of the Bar of the

States of New Jersey and Pennsylvania, and pursuant to Local Rule 83.6 submit to

the disciplinary jurisdiction of this Court for any alleged misconduct which occurs

in the preparation or course of this action. I also certify that I am generally familiar

with this Court's Local Rules. In accordance with the Revised Standing Order for

District Court Fund, effective September 1, 2016, I further certify that the annual fee

of $25.00 has been paid to the Clerk of Court, or, if not paid previously, the fee

payment will be submitted to the Clerk's Office upon the filing of this motion.




                                  By:
                                        Adam E. Levy, Esquire
                                        Marshall Denney, P.C.

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                                   15000 Midlantic Drive
                                   Suite 200
Date: September 11, 2023           Mt. Laurel, NJ 08054




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